              Case 2:08-cr-00116-KJM Document 177 Filed 03/03/10 Page 1 of 2


 1   Tim Warriner (SB#166128)
     Attorney at Law
 2   813 6th St., Suite 450
     Sacramento, CA 95814
 3   (916) 443-7141
     FAX: (916) 441-0970
 4
     Attorney for Defendant,
 5   LISA VANG
 6
                               IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )                 No. CR S 08-116 FCD
10                                       )
                 Plaintiff,              )                 WAIVER OF DEFENDANT
11                                       )                 LISA VANG’S PERSONAL
           v.                            )                 APPEARANCE AT
12                                       )                 ARRAIGNMENT ON THE
     LISA VANG, et al.,                  )                 SUPERSEDING INDICTMENT
13                                       )
                 Defendants.             )
14   ____________________________________)
15          Pursuant to Federal Rules of Criminal Procedure, Rule 10(b), I, Lisa Vang, hereby waive
16   my personal appearance at the arraignment on the Superseding Indictment in this case to be held
17   on Friday, March 5, 2010 before the Honorable Edmund F., Brennan.
18          I hereby acknowledge and understand that I have the absolute right to appear personally
19   with my attorney before a judicial officer for arraignment in open court on the above-reference
20   Superseding Indictment. I further understand that absent the present waiver of appearance, I
21   must appear before this Court as directed.
22          I affirm that I have received a copy of the Superseding Indictment and that I voluntarily,
23   knowingly, and intentionally waive a formal reading of the Superseding Indictment in open
24   court, and I hereby enter a plea of not guilty to all counts and demand a jury trial.
25          I further agree that my interest will be deemed represented at all times by the presence of
26   my attorney, the same as if I were personally present, and further agree to be present in court
27
28                                                     1
              Case 2:08-cr-00116-KJM Document 177 Filed 03/03/10 Page 2 of 2


 1   ready for the trial confirmation hearing, jury selection, and jury trial at any day and hour the
 2   Court may fix in my absence.
 3          I further acknowledge that I have been fully informed of all my legal rights under Title
 4   18 U.S.C. §§ 3161-3174 (the Speedy Trial Act) and authorize my attorney to set times and
 5   delays under the Speedy Trial Act without my being present.
 6
 7   DATED: March 3, 2010                   I consent to the above waiver of appearance.
 8                                          /s/ Lisa Vang, Defendant
 9
10
11   DATED: March 3, 2010                   I agree to the above waiver of appearance.
12                                          /s/ Tim Warriner, Attorney for Lisa Vang
13
14   DATED: March 3, 2010                   I approve the above waiver of appearance.
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                                     2
